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                          IN THE UNITED STATES DISTRICT COUR
                             SOUTHERN DISTRICT OF NEW YORK


JOSE NIEVES and COLLIN DEWAR                                     §
on behalf of themselves and all others                           §
similarly situated,                                              §
                                                                 §
         Plaintiffs,                                             §
                                                                 §
         v.                                                      § Case No. 7:08 Civ. 0321
                                                                 § (VB)(PED)
                                                                 §
COMMUNITY CHOICE HEALTH PLAN OF                                  §
WESTCHESTER, INC., et al,                                        §
                                                                 §
         Defendants.                                             §

            FINAL ORDER PURSUANT TO FED, R. CIV. P.23 APPROVING
    SETTLEMENT AGREEMENT BETWEEN THE DEFENDANTS AND THE
        SETTLEMENT CLASS AND GRANTING RELATED RELIEF

         The Court has considered the joint motion (“Joint Motion”) of: Plaintiffs Jose

Nieves and Collin Dewar (“Plaintiffs”) and Defendants Community Choice Health Plan

of Westchester, Inc., and Sound Shore Medical Center of Westchester, Inc.

(“Defendants”)’, by and through their respective counsel of record, for an Order, among

other things, 1) Preliminarily Approving the Settlement Agreement between Plaintiffs, on

their own behalf and on behalf of the Settlement Class and the Defendants; (2)

Appro ing the Form and Manner of Notice to the Settlement Class; and (3) Scheduling a

Final Fairness Hearing for the Final Consideration and appro al of the Settlement


In accordance with the terms and conditions of the Stipulation attached to the Settlement as Exhibit B, the
Court will dismiss with prejudice all WARN Act claims against Mount Vernon Neighborhood Health
Center, Inc in this matter following entry of this Order and the dismissal of CCHP and Sound Shore
pursuant to the terms of the compromise and settlement Plaintiffs and Mount Vernon Neighborhood Health
Center, Inc. are to submit the signed Stipulation. attached as Exhibit B to the Settlement, for entry upon the
occurrence of the conditions precedent to the dismissal
                                                          ___________,




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Agreement and (4) Granting Related Relief.

        The Court finds:

        A.       The Court entered an Order on        2 (2 (i 2            granting

preliminary approval of the Settlement Agreement and approving the form and manner of

notice of the Settlement Agreement and the deadline for opt-outs or objections to be

given to all Settlement Class members;

        B.       Due notice has been given to the Settlement Class of the proposed

Settlement Agreement, the right to opt-out or object to the proposed Settlement

Agreement and the right to appear in person or by counsel at the fairness hearing; and no

other and further notice is required and such notice is deemed proper and sufficient under

the circumstances;

        C.      There were          objections to the Settlement and      opt-outs;

        D.      The Court held a fairness hearing on                      2012, to consider

final approval of the Settlement Agreement;

        E.      All Settlement Class Members are bound by this Order and the terms of

the Settlement Agreement;

        E.      The terms of the Settlement Agreement are fair, reasonable and adequate

under Federal Rule of Civil Procedure 23 and the law of this Circuit;

        F.      The Settlement Agreement was negotiated at arms length and in good

faith, is fair, equitable and in the best interests of the parties;

        G.       Other good and sufficient cause exists for granting the relief requested in

the Joint Motion.

        IT IS HEREBY ORDERED THAT:
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       1.      The Joint Motion is granted and the Settlement Agreement, attached to the

Joint Motion, is APPROVED as fair and reasonable. The parties are authorized to

implement its terms.

       2.      This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.




                                      UNITED                      ICT COURT JUDGE
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SERVICE LIST FOR ENTERED ORDER
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On Behalf of Defendant Choice Health Plan of Westchester, Inc.


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 On Behalf of Defendant Sound Shore Medical Center of Westchester,


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